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 3                               UNITED STATES DISTRICT COURT
 4                                        DISTRICT OF NEVADA
 5                                                  ***
 6    Sergey Mkhitaryan,                                   Case No. 2:21-cv-01789-APG-BNW
 7                           Plaintiff,
                                                           Order
 8          v.
 9    County of Clark, et al.,
10                           Defendants.
11

12          The United States Postal Service was unable to deliver a recent filing in this case. See

13   ECF No. 8. Thus, it appears that Plaintiff is no longer at the address on file with the Court. Under

14   Local Rule IA 3-1,

15          An attorney or pro se party must immediately file with the court written notification
            of any change of mailing address, email address, telephone number, or facsimile
16
            number. The notification must include proof of service on each opposing party or
17          the party’s attorney. Failure to comply with this rule may result in the dismissal of
            the action, entry of default judgment, or other sanctions as deemed appropriate by
18          the court.
19          Plaintiff must file a notice with his current address with the Court by November 17, 2021.
20   Failure to comply with this Order may result in a recommendation to the district judge that this
21   case be dismissed.
22          IT IS SO ORDERED.
23          DATED: October 27, 2021.
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25                                                        Brenda Weksler
                                                          United States Magistrate Judge
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